  YAZKF
          Case 7:20-cv-01768-SGC     Document 47-3     Filed 10/19/23
                *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *
                                                                        Page 1 of 11
                                                                   09-26-2023
                                                                                           FILED
                                                                                2023 Oct-19 PM 01:43
PAGE 001 OF                                                        10:50:49     U.S. DISTRICT COURT
     FUNCTION: L-P SCOPE: REG   EQ 31860-001     OUTPUT FORMAT: FULL                N.D. OF ALABAMA
-------LIMITED TO SUBMISSIONS WHICH MATCH ALL LIMITATIONS KEYED BELOW----------
DT RCV: FROM __________ THRU __________ DT STS: FROM __________ THRU __________
DT STS: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT RDU
DT TDU: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT TRT
STS/REAS: ______ ______ ______ ______ ______ ______ ______ ______ ______ ______
SUBJECTS: ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____
EXTENDED: _ REMEDY LEVEL: _ _              RECEIPT: _ _ _ "OR" EXTENSION: _ _ _
RCV OFC : EQ ____        ____       ____       ____       ____       ____
TRACK: DEPT: __________ __________ __________ __________ __________ __________
      PERSON: ___        ___        ___        ___        ___        ___
        TYPE: ___        ___        ___        ___        ___        ___
EVNT FACL: EQ ____       ____       ____       ____       ____       ____
RCV FACL.: EQ ____       ____       ____       ____       ____       ____
RCV UN/LC: EQ __________ __________ __________ __________ __________ __________
RCV QTR..: EQ __________ __________ __________ __________ __________ __________
ORIG FACL: EQ ____       ____       ____       ____       ____       ____
ORG UN/LC: EQ __________ __________ __________ __________ __________ __________
ORIG QTR.: EQ __________ __________ __________ __________ __________ __________




G0002       MORE PAGES TO FOLLOW . . .




                                          Exhibit B
         Case 7:20-cv-01768-SGC      Document 47-3     Filed 10/19/23   Page 2 of 11
  YAZKF           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        09-26-2023
PAGE 002 OF       *             FULL SCREEN FORMAT             *        10:50:49


REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: ALI
REMEDY ID: 1000103-F1      SUB1: 26AC SUB2:      DATE RCV:   12-12-2019
UNT RCV..:CAMP D         QTR RCV.: D01-010U      FACL RCV: ALI
UNT ORG..:CAMP D         QTR ORG.: D01-010U      FACL ORG: ALI
EVT FACL.: ALI    ACC LEV: ALI 1 SER 2              RESP DUE: WED 01-01-2020
ABSTRACT.: I/M WANTS TO SEE AN OUTSIDE SPEC. OR SURGEON
STATUS DT: 06-23-2020 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 12-12-2019
REMARKS..:




REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U    RCV OFC: ALI
REMEDY ID: 1033708-F1      SUB1: 19ZM SUB2: 26AM DATE RCV:    07-16-2020
UNT RCV..:CAMP D         QTR RCV.: C03-210L      FACL RCV: ALI
UNT ORG..:CAMP D         QTR ORG.: C03-210L      FACL ORG: ALI
EVT FACL.: ALI    ACC LEV:                          RESP DUE:
ABSTRACT.: I'M WITH 2 ISSUES MEDICAL AND HOME CONFINEMENT
STATUS DT: 07-16-2020 STATUS CODE: REJ STATUS REASON: MLT OTH RSA
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 07-17-2020
REMARKS..: YOU ARE ADDRESS MEDICAL ISSUES AND A REQUEST FOR
           HOME CONFINEMENT. YOU WILL NEED TO RE-SUBMIT TWO
           BP-9'S ONE FOR EACH ISSUE.




G0002         MORE PAGES TO FOLLOW . . .




                                           Exhibit B
         Case 7:20-cv-01768-SGC      Document 47-3     Filed 10/19/23   Page 3 of 11
  YAZKF           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        09-26-2023
PAGE 003 OF       *             FULL SCREEN FORMAT             *        10:50:49


REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: ALI
REMEDY ID: 1040016-F1      SUB1: 13GC SUB2:      DATE RCV:   08-13-2020
UNT RCV..:CAMP D         QTR RCV.: C03-210L      FACL RCV: ALI
UNT ORG..:CAMP D         QTR ORG.: C03-210L      FACL ORG: ALI
EVT FACL.: ALI    ACC LEV: ALI 1 SER 1              RESP DUE: WED 09-02-2020
ABSTRACT.: I/M APPEALING INFORMAL RESPONSE OF DENIAL OF HC
STATUS DT: 08-27-2020 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 08-13-2020
REMARKS..:




REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U    RCV OFC: SER
REMEDY ID: 1000103-R1      SUB1: 26AC SUB2:      DATE RCV:    08-18-2020
UNT RCV..:CAMP D         QTR RCV.: C03-210L      FACL RCV: ALI
UNT ORG..:CAMP D         QTR ORG.: D01-010U      FACL ORG: ALI
EVT FACL.: ALI    ACC LEV: ALI 1 SER 2              RESP DUE:
ABSTRACT.: I/M WANTS TO SEE AN OUTSIDE SPEC. OR SURGEON
STATUS DT: 11-16-2020 STATUS CODE: VOD STATUS REASON:
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 11-16-2020
REMARKS..: ACCEPTED IN ERROR




G0002         MORE PAGES TO FOLLOW . . .




                                           Exhibit B
         Case 7:20-cv-01768-SGC      Document 47-3     Filed 10/19/23   Page 4 of 11
  YAZKF           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        09-26-2023
PAGE 004 OF       *             FULL SCREEN FORMAT             *        10:50:49


REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: SER
REMEDY ID: 1000103-R2      SUB1: 26AM SUB2:      DATE RCV:   08-18-2020
UNT RCV..:CAMP D         QTR RCV.: C03-210L      FACL RCV: ALI
UNT ORG..:CAMP D         QTR ORG.: D01-010U      FACL ORG: ALI
EVT FACL.: ALI    ACC LEV: ALI 1 SER 2              RESP DUE: THU 09-17-2020
ABSTRACT.: SEEKS MEDICAL TREATMENT
STATUS DT: 01-05-2021 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 12-02-2020
REMARKS..:




REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: SER
REMEDY ID: 1040016-R1      SUB1: 13GC SUB2:      DATE RCV:   09-23-2020
UNT RCV..:CAMP D         QTR RCV.: D01-040L      FACL RCV: ALI
UNT ORG..:CAMP D         QTR ORG.: C03-210L      FACL ORG: ALI
EVT FACL.: ALI    ACC LEV: ALI 1 SER 1              RESP DUE: SUN 11-22-2020
ABSTRACT.: I/M APPEALING INFORMAL RESPONSE OF DENIAL OF HC
STATUS DT: 06-01-2021 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 12-30-2020
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




                                           Exhibit B
         Case 7:20-cv-01768-SGC      Document 47-3     Filed 10/19/23   Page 5 of 11
  YAZKF           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        09-26-2023
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REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: ALI
REMEDY ID: 1055293-F1      SUB1: 26DC SUB2:      DATE RCV:   11-04-2020
UNT RCV..:CAMP D         QTR RCV.: D01-040L      FACL RCV: ALI
UNT ORG..:CAMP D         QTR ORG.: D01-040L      FACL ORG: ALI
EVT FACL.: ALI    ACC LEV: ALI 1                    RESP DUE: TUE 11-24-2020
ABSTRACT.: I/M IS REQUESTING ANXIETY MEDICATION
STATUS DT: 11-13-2020 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 11-04-2020
REMARKS..:




REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: ALI
REMEDY ID: 1072055-F1      SUB1: 31ZC SUB2:      DATE RCV:   03-09-2021
UNT RCV..:CAMP D         QTR RCV.: D01-040L      FACL RCV: ALI
UNT ORG..:CAMP D         QTR ORG.: D01-040L      FACL ORG: ALI
EVT FACL.: ALI    ACC LEV: ALI 1                    RESP DUE: MON 03-29-2021
ABSTRACT.: I/M REQUESTING CONCURRENT SENTENCES BE CORRECTED
STATUS DT: 04-19-2021 STATUS CODE: CLO STATUS REASON: WDN
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 03-09-2021
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




                                           Exhibit B
         Case 7:20-cv-01768-SGC      Document 47-3     Filed 10/19/23   Page 6 of 11
  YAZKF           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        09-26-2023
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REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: MNA
REMEDY ID: 1111977-F1      SUB1: 15AC SUB2:      DATE RCV:   03-01-2022
UNT RCV..:CHEROKEE       QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:CHEROKEE       QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1                    RESP DUE: MON 03-21-2022
ABSTRACT.: RQST INVESTIGATION OF FRP PAYMENTS/TEMP. HALTED
STATUS DT: 03-16-2022 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 03-01-2022
REMARKS..:




REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: MNA
REMEDY ID: 1124671-F1      SUB1: 31ZC SUB2:      DATE RCV:   06-23-2022
UNT RCV..:CHEROKEE       QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:CHEROKEE       QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1 SER 2 BOP 1        RESP DUE: TUE 08-02-2022
ABSTRACT.: FSA CREDITS APPLIED
STATUS DT: 07-22-2022 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 06-27-2022
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




                                           Exhibit B
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  YAZKF           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        09-26-2023
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REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: MNA
REMEDY ID: 1133017-F1      SUB1: 19ZC SUB2:      DATE RCV:   08-09-2022
UNT RCV..:5 SCP          QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:5 SCP          QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1 SER 1              RESP DUE: SUN 09-18-2022
ABSTRACT.: HOME CONFINEMENT/EXCEPTION REVIEW DENIAL REASON
STATUS DT: 10-17-2022 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 09-08-2022
REMARKS..:




REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U    RCV OFC: SER
REMEDY ID: 1124671-R1      SUB1: 31ZC SUB2:      DATE RCV:    08-16-2022
UNT RCV..:5 SCP          QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:CHEROKEE       QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1 SER 2 BOP 1        RESP DUE:
ABSTRACT.: FSA CREDITS APPLIED
STATUS DT: 08-17-2022 STATUS CODE: REJ STATUS REASON: LEG RSR
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 08-17-2022
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




                                           Exhibit B
         Case 7:20-cv-01768-SGC      Document 47-3     Filed 10/19/23   Page 8 of 11
  YAZKF           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        09-26-2023
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REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: SER
REMEDY ID: 1124671-R2      SUB1: 31ZC SUB2:      DATE RCV:   09-09-2022
UNT RCV..:5 SCP          QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:CHEROKEE       QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1 SER 2 BOP 1        RESP DUE: SUN 10-09-2022
ABSTRACT.: FSA CREDITS APPLIED
STATUS DT: 10-17-2022 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 09-09-2022
REMARKS..:




REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: SER
REMEDY ID: 1133017-R1      SUB1: 19ZC SUB2:      DATE RCV:   11-03-2022
UNT RCV..:5 SCP          QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:5 SCP          QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1 SER 1              RESP DUE: SAT 12-03-2022
ABSTRACT.: HOME CONFINEMENT/EXCEPTION REVIEW DENIAL REASON
STATUS DT: 11-08-2022 STATUS CODE: ACC STATUS REASON:
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 11-08-2022
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




                                           Exhibit B
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  YAZKF           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        09-26-2023
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REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: MNA
REMEDY ID: 1141170-F1      SUB1: 19ZC SUB2:      DATE RCV:   11-09-2022
UNT RCV..:5 SCP          QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:5 SCP          QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1 SER 1              RESP DUE: MON 12-19-2022
ABSTRACT.: HOME CONFINEMENT REQUEST
STATUS DT: 12-27-2022 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 11-14-2022
REMARKS..:




REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: BOP
REMEDY ID: 1124671-A1      SUB1: 31ZC SUB2:      DATE RCV:   11-28-2022
UNT RCV..:5 SCP          QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:CHEROKEE       QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1 SER 2 BOP 1        RESP DUE: FRI 01-27-2023
ABSTRACT.: FSA CREDITS APPLIED
STATUS DT: 01-05-2023 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 12-15-2022
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




                                           Exhibit B
         Case 7:20-cv-01768-SGC     Document 47-3      Filed 10/19/23   Page 10 of 11
  YAZKF           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        09-26-2023
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REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: MNA
REMEDY ID: 1146644-F1      SUB1: 15AC SUB2:      DATE RCV:   01-03-2023
UNT RCV..:5 SCP          QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:5 SCP          QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1                    RESP DUE: MON 01-23-2023
ABSTRACT.: RELEASE OF PAYMENT REFUNDS
STATUS DT: 01-30-2023 STATUS CODE: CLG STATUS REASON: GRT
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 01-04-2023
REMARKS..:




REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: SER
REMEDY ID: 1141170-R1      SUB1: 19ZC SUB2:      DATE RCV:   01-03-2023
UNT RCV..:5 SCP          QTR RCV.: X01-015L      FACL RCV: MNA
UNT ORG..:5 SCP          QTR ORG.: X01-015L      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1 SER 1              RESP DUE: THU 02-02-2023
ABSTRACT.: HOME CONFINEMENT REQUEST
STATUS DT: 02-21-2023 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 01-26-2023
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .




                                           Exhibit B
         Case 7:20-cv-01768-SGC    Document 47-3    Filed 10/19/23   Page 11 of 11
  YAZKF         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *       09-26-2023
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REGNO: 31860-001 NAME: MOLLICA, TERRI
RSP OF...: MNA UNT/LOC/DST: 5 SCP                QTR.: X02-037U   RCV OFC: MNA
REMEDY ID: 1161971-F1      SUB1: 25FC SUB2:      DATE RCV:   04-17-2023
UNT RCV..:5 SCP          QTR RCV.: X02-037U      FACL RCV: MNA
UNT ORG..:5 SCP          QTR ORG.: X02-037U      FACL ORG: MNA
EVT FACL.: MNA    ACC LEV: MNA 1                    RESP DUE: SUN 05-07-2023
ABSTRACT.: FUNDS BEING WITHHELD ON ACCOUNT
STATUS DT: 09-12-2023 STATUS CODE: CLO STATUS REASON: XPL
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 05-17-2023
REMARKS..:




                19 REMEDY SUBMISSION(S) SELECTED
G0000       TRANSACTION SUCCESSFULLY COMPLETED




                                        Exhibit B
